                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

AMMIZABAD JOHNSON,                               )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )          No. 4:21-CV-733-NCC
                                                 )
PEMISCOT COUNTY JAIL,                            )
                                                 )
               Defendant.                        )

                               MEMORANDUM AND ORDER

       This matter is before the Court upon review of self-represented plaintiff Ammizabad

Johnson’s complaint. The complaint is defective because it has not been drafted on a Court-

provided form. See Local Rule 2.06(A). Additionally, plaintiff has not paid the filing fee or

filed an application to proceed in the district court without prepaying fees and costs. See 28

U.S.C. § 1915(a).

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk shall mail to plaintiff a copy of the Court’s

Prisoner Civil Rights Complaint form.

       IT IS FURTHER ORDERED that the Clerk shall mail to plaintiff a copy of the Court’s

Application to Proceed in District Court Without Prepaying Fees or Costs.

       IT IS FURTHER ORDERED that plaintiff shall file an amended complaint on the

Court-provided form within twenty-one (21) days of the date of this Order. Plaintiff is advised

that his amended complaint will take the place of his original complaint and will be the only

pleading that this Court will review.
       IT IS FURTHER ORDERED that plaintiff shall either pay the $400 filing fee or submit

an Application to Proceed in District Court Without Prepaying Fees or Costs within twenty-one

(21) days of the date of this Order.

       IT IS FURTHER ORDERED that if plaintiff fails to comply with this Order, the Court

will dismiss this action without prejudice. If the case is dismissed for non-compliance with this

Order, the dismissal will not constitute a strike under 28 U.S.C. § 1915(g).

           Dated this 23rd day of June, 2021.

                                                      /s/ Noelle C. Collins
                                                      NOELLE C. COLLINS
                                                      UNITED STATES MAGISTRATE JUDGE




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